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                                                                                                    JA

                                                                                        Mar 20, 2020

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                       20-20163-CR-SCOLA/TORRES
                               Case No. ----------
                                       18 u.s.c. § 371
                                       18 U.S.C. § 981(a)(l)(C )


 UNITED STATES OF AMERICA

 vs.

 CARLOS ENRIQUE URBANO FERMIN,

                 Defendant.


                                         INFORMATION

        The United States Attorney charges that:

                                  GENERAL ALLEGATIONS

        At all times relevant to this Information:

        1.       Petr6leos de Venezuela S.A. ("PDVSA") was the state-owned and state controlled

 oil company in Venezuela. PDVSA was responsible for the exploration, production, refining,

 transportation, and trade in energy resources in Venezuela and provided funding for other

 operations of the Venezuelan government.

        2.       PDVSA entered into various joint ventures with foreign oil companies to leverage

 the expertise of those oil companies (the "PDVSA Subsidiaries" or, individually, a "PDVSA

 Subsidiary").    PDVSA maintained a majority stake in, and largely controlled, the PDVSA

 Subsidiaries and that control extended to the procurement process.

        3.       Petrolera Sinovensa, S.A. ("Petrolera Sinovensa") was a PDVSA Subsidiary that

 consisted of a combination of PDVSA and a Chinese oil company, with majority control belonging

 to PDVSA.       PetroMiranda, S.A. ("PetroMiranda) was a PDVSA Subsidiary that consisted of a
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AO 455 (ReY. 01/09) Waiver of an Indictment


                                       UNITED STATES DISTRICT COURT
                                                          for the
                                                Southern District of Florida

                  United States of America                   )
                                 V.                          )      Case No.
        CARLOS ENRIQUE URBANO FERMIN,                        )
                                                             )    20-20163-CR-SCOLA/TORRES
                            Defendant                        )

                                              WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:
                                                                                      Defendant's signature




                                                                                Signature of defendant's attorney


                                                                                                                      �   -
                                                                               Printed name of defendant's attorney




                                                                                        Judge's signature



                                                                                  Judge's printed name and title
